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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
WESTERN DIVISION

LAURIE RAYMOND, dfb/a A-l TOWING,

 

Plaim;iff, _ 3_\:,_
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Vs' €-:;: . l!-l "1
ROD R. BLAGOJEVICH, as Govemor of the §§
State of Illinois, c ; -_ 33
11 223

" `EDWARD C. 'HU'RLEY, as Ch`aifman of

the Illinois Commerce Comrrlission, LULA
M. FORD, MARY FRANCES SQUIRES,
KEVIN K. WRIGHT and ERIN
O’CONNELL-DIAZ, all in their capacity
as Commissioners of the IIIinois Commerce
Com_mission; and SC(_)TT W'[SEMAN, as
Executive Director of the Illinois Commerce
Cormnission,

Defendants.

BRIEF IN SUPPORT OF PLAINTIFF’S AMENDED COMPLAINT FOR
TEMPORARY RESTRAINING ORDER AND'PRELIMINARY INJUNCTION

 

 

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1.1NTRoDUcrIoN

 

This matter comes before the Court on Plaintiff’ s Amended Motion for Temporary

_Restraining Order and Prelirninary lnjunction Plaintiff alleges that certain provisions of

the Illinois Commercial Relocation of Trespassing Vehicles Act, 625 ILCS 5/18a, et seq,

\are preempted by federal law, namely, the Interstate Commerce Act, 49 U.S.C. 14501(c).

Because the State statute in question unconstitutionally impinges on Plaintist
ability to operate her business and earn a livelihood therefrom, which impingement
constitutes irreparable harm to Plaintiff as a matter of law, Plaintiff argues that the Court

should enter the requested injunctive relief against Defendants.

II. FACTUAL BACKGROUND
Plaintiff Laurie Raymond, is the owner and sole proprietor of a business known as

“A- 1 Towing ” The said business tows motor vehicles that have been illegally parked on

private property within the City of Rockford, Illinois.

The State of illinois has enacted the “Illinois 'Commercial Reloeation Of

_ Trespassing Vehicles Law”, 625 Illinois Cornpiled Statutes 5/ 18a et. seq Th_is statutory

scheme promulgates detinitions, rules, requirements etc for towing businesses which,

like Plaintiff’ s, remove vehicles illegally parked on private property and which are

thereafter stored until reclaimed by the vehicle owner. A copy of 625 ILCS 5/18a, et seq,
is attached to this Brief as exhibit “A."

Article I of the statute cited above delegates enforcement and administrative

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authority to the Illinois Commerce Comriiission (hereafter referred to ads “the
Commission”). The relevant language regarding this delegation, and defining the policy
underlying the Statute, is as follows:

lt is hereby declared to be the policy of the State of Illinois to supervise and

regulate the commercial removal of trespassing vehicles from private

property, and the subsequent relocation and storage of such vehicles in such

manner as to fairly distribute rights and responsibilities among vehicle

owners,` private property owners and commercial vehicle relocators, and for

` this purpose the power and authority to administer and to enforce the

provisions of the Chapter shall be vested in the Illinois Commerce

Commission. (625 ILCS 5/18a-101). (Ernphasis added)

“Commercial vehicle relocator” is defined as “ . . . any person or entity engaged in
the business of removing trespassing vehicles from private property by means of towing
or otherwise, and thereafter relocating and storing such vehicles.” (625 ILCS 5/18a-
100(1). Plaintiff is a “commercial vehicle relocator” within the meaning of the statute

nand, tlierefore, comes under the regulatory authority of the State statute cited above.

Article III of the Statute enumerates a number of unlawful practices for businesses

engaged as commercial vehicle relocators. Signiticantly, for example, the Statute makes

it unlawful for a commercial vehicle relocator to operate such a business without a valid

` relocator’s license, as provided for in Article IV of the Statute. (625 ILCS 5/18a-300(1)).

The said Article also requires an “operator’s employment permit, ” (625 ILCS 5/18a-

300(2)) and a “dispatclier’ s employment permit,” (625 ILCS 5/18a-300(3)) for various
_ employees of the towing business Aiticle III also contains language governing many

' other aspects of a commercial relocating operation. These include, but are not limited to,

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_ the following types of requirements and/or prohibitions:

a. Requiring the commercial vehicle relocator to include his or her
'relocator’s license number in any advertising (625 ILCS 5/18a-300(6);

b. Removal of the trespassing vehicle from the tow vehicle under certain,
defined circumstances (625 ILCS 5/18a-300(9);

c. Prominent posting of Commission locations and telephone numbers, to
which inquiries or complaints regarding the relocator can be sent (625
ILCS 5/18a-300(13) ;

' d. Distribution of written information to owners of trespassing vehicles
regarding “. . . relevant statutes, regulations and ordinances governing
commercial vehicle relocators . . “ (625 ILCS 5/18a-300(13.1);

e. Regulation of the number of miles a vehicle may be towed; (625 ILCS'
5/1 8a-300( 14);

f. Requirement of having an employee of the relocator available “ at any
` time” on the premises owned by the relocator for the purpose of
arranging the “immediate release” of a towed vehicle (625 ILCS 5/18a-
300(15);

g. Waiver of all towing fees and storage charges if the vehicle owner is
unable to contact the relocator within a certain, specified period of time
(625 ILCS 5/18a-300(15);

h. Requirement that written notice, in the form of a sign or signs to be
placed on property from which illegally parked vehicles may be
removed, be provided 'I`his section of the statute describes both the
size and content of the sign or signs to be posted (625 ILCS 5/18a~302);

_and’

i. Prohibitioii of acting as an “operator” without a valid operator’s
` employment permit (625 ILCS 5/18a-304);

For purposes of this Brief, and Plaintiff’ s Motion for Temporary Restraining Order

and Preliminary Injunction, the most important requirements are those:m'andating that

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Plaintiff obtain a relocator’ s license and the specific regulations noted at “ e” and “f’
above_. _

The application procedure for the relocator’s license is set out in Article IV of the
statute. After the filing of a written application for such a license with the Illinois
Commerce Commission, the Commission sets a date for a public healing on the
application Notice of the hearing date is to be given to the applicant and any other

person having an interest in the application (625 ILCS 5/18a-400(b)).; The applicant is

then responsible for publishing a notice of the filing of the application at least ten days

prior to the hearing date thereon. (625 ILCS 5/18a~400(c))

The statute then goes on to recite that, following the hearing, a relocator’s license
shall be issued to “any qualified applicant . . . if it is found that the applicant is fit, willing
and able properly to perform the service proposed and to conform to provisions of the

Chapter and the requirements," rules and regulations of the Commi'ssion thereunder;

.. otherwise, such application shall be denied. . . . “ (625 ILCS 5/18a-400(d)). Plaintiff

contends that this language is highly significant since it provides that issuance of the
relocator’ s license is dependent upon the applicant’ s ability to conform to all of the
regulatory requirements set out in the Statute, including those described in more detail
above.

l The statute also provides that the relocator’s license has an expiration date two
years from the date of issuance The procedure for renewing the license prior to such

expiration is also described (625 rios 5/1ss-401).

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The Seventh Circuit has defined those standards under which a trial court may
grant a preliminary injunction. As that Couit ruled, in Duct-O- Wire Co., v. U.S. Crane,
Inc., 31 F.3d 506 (7“‘ Cir. 1994): “A District Court may grant a preliminary injunction if
the party seeking relief can show (l) that the case has some likelihood of success on the
merits; (2) that no adequate remedy at law exists; and (3) that the party seeking relief will
suffer irreparable harm if the injunction is not granted.’-’- 31 F3d 506 at :5-09. The Court
later added that the “public interest” of non-parties to the litigation must also be
considered in such a case. _31 F3d 506 at 509.

That same Court went onto hold that, in the event the moving party satisfies these
three conditions, the trial court must then balance any harm which may occur to the
Defendant if the injunctive relief is allowed. In this regard, the Couit of Appeals Stated
as follows: “This balancing involves what we have termed a ‘sliding scale’ analysis: the
greater the moving'pai‘ty;s chanceof success non the merits, the less strong a showing
must it make that the balance of harm is in its favor; conversely, the less likely it is that
the moving party will succeed on the merits, the more the balance need weigh toward its
sids.” 31 Fs'd 506 at 509.

. In a later case, the Seventh Circuit defined the purpose of a grant of preliminary

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injunction: . . . we emphasize that the granting of a preliminary injunction is not a

-- decision on the merits of the plaintiffs suit. It is merely a decision that the suit has

enough merit - which need not be great merit - to justify an order that will H‘eeze the

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t situation, in the Plaintiff" s favor, for such time as it may take to determine whether the ,

suit is, or is not, meritorious.” Ayres v. Ciiy of Chi'cago, 125 F3d 1010 at 1013 (7th Cir.

1997.
MGMN_T

A. PLAINTIFF WILL L_IKELY SUCCEED ON TI-IE MERITS ` _
t As stated m her Amended Complaint for Declaratory and Injunctive Relief`,
_Defe_ndant believes that many of the provisions contained in the “Il-lino:is Commercial
Relocation Of` Trespassing Vehicles Law”,- 625 Illinois Cornpiled Statutes 5/18a, et. seq,

are expressly preempted by the Interstate Commerce Act, 49 U.S.C. Sect. 14501(c).

That federal statute provides as follows:

_ Sect. 14501. Federal authority over intrastate transportation
(c). Motor carriers of property (1) General rule - Except as provided
in paragraphs (2) and (3), a State, political subdivision of a State, or
political authority of 2 or more States may not enact or enforce a Iaw,
regulation, or other provision having the force and effect of law related
to a price, route, or service of any motor carrier (emphasis added). . . .or
any motor private carrier, broker, or freight forwarder with respect to the
transportation of property.

(2) Matters not covered. - Paragraph (1) -

(A) shall not restrict the safety regulatory authority of a State
with respect to motor vehicles (emphasis added), the authority of a State
to impose highway route controls or limitations based on the size or weight

__ of the motor vehicle or the hazardous nature of the cargo, or the authority

` of a State to regulate motor carriers with regard to minimum amounts
of financial responsibility relating to insurance requirements and self-
insurance authorization (emphasis added); and

(B) does not apply to the transportation of household goods; and

(C) does not apply to the authority of a State (emphasis added) or
a political subdivision of a State to enact or enforce a law, regulation, or

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other provision relating to the price of for-hire motor vehicle transportation
by a tow truck, if such transportation is performed without the prior consent
or authorization of the owner or operator of the motor vehicle

Further, and also as stated in Plaintiff’ s Complaint, Plaintiff is a "rnotor carrier"

_ and/or "motor private carrier," as defined by 49`U.S.C. Sect. 13102(12) and/or (13). Tow

_ y trucks and/or wreckers are ‘_‘motor_ vehicles" as defined by 49 U.S.C. Sect. 13102(14).

Plaintiff first points out-that the clear language of the Act defines the three types-of
State regulation that are not preempted: (l). Safety regulations with respect to motor
lvehicles; (2). Requirements for minimum amounts of insurance; and (3:); 'Regulating the t
price charged for the towing of trespassing vehicles from private property (49 U.S.C.
Sect. l4501(c)(2)(A),(C)). Plaintiff notes that she does not challenge those provisions of
the State statute creating insurance requirements (625 ILCS 5/18a-301) or those
regulating the price to be charged for the towing of trespassing vehicles from private
property (625 ILCS 5/18a-200(6). As noted7 these regulations and requirements are
specifically allowed by the_lnterstate Commerce Act.

Plaintiff does challenge, however, those regulations under the State statute which

'i do not come__under"any of those three categ'ories.- Por this'purpose; Pleintiff maintains

that the State statutory provisions noted in the “Factual Background” section of this brief
are not covered by any of these allowed categories They are not safety related, and they
obviously do not deal with questions of insurance or regulation of price for a defined type

lof towing. Therefore, since the state statutory provisions quoted above do not fall within

' any of the allowed categories of regulation, they are prohibited by the following language

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of the Interstate Commerce Act: “A State, political subdivision of a State, or political
authority of 2 or more States may not enaet or enforce a law, regulation, or other
provision having the force and effect of law related to a price, route, or service of any
motor carrier . . . . “ 49 U.S.C. Sect. 14501(0). (emphasis added). l
' The United States Supreme Couit has adopted this interpretation cf this
preemptive effect of the Interstate Commerce Act. in Cily of columbus v. Ours Garage
and Wrecker Service, Inc., 122 S.Ct. 2226 (2002), the Couit ruled as follows:
We reiterate'that Sect. 14501(0)(2)(§) shields from preemption only “safety
regulatory audiority” (and “authority of a State to regulate . . . with regard
to minimum amounts of financial responsibility relating to insurance
requirements”). Local regulation of prices, routes, or services of tow trucks
that is not genuinely responsive to safety concerns garners no exemption
from Sect. 14501(0)(1)’5 preemption rule.' 122 S. Ct. 2226 at 2237 .
_ _ _Plaintif`f notes that_while the Ours Garage-case dealt specifically with the issue of
federal preemption of municipal regulations of towing businesses, the principle of that
decision is equally applicable to the instant case. As a result, State or local regulations
-' fall into either one of two categories
l l l n l. They are either specifically authorized liy the language of the Interstate
Commerce Aet and are, therefore, enforceable1 or
n 2. They are regulations of “price, route, or service” and are preempted by the Act.
Defendant asserts that the regulations she has challenged in her:Complaint and in

this Brief are regulations of “price, route and service” only. For exa;inple, and as

described above, the Illinois statute in question states that it is unlawful for a commercial

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relocator “ . . . to fail to have an employee available at any time on the premises owned or
controlled by the relocator for the purpose of arranging for the immediate release of the
[towed] vehicle ” The “at any time” language means “at any time during the hours in

which the relocator is engaged m the towing of vehicles or advertised as engaged m the

_ towing of vehicles.” (625 ILCS 5/18a-300(15))

'Because Plaintiff’ s business involves the towing of illegally parked vehicles on l
private property, she is engaged in towing such vehicles at all hours of the day and night
This “at any time” language of the statute, therefore, effectively mandates that she hire
additional employees who will be available on her storage lot or lots 24 hours a day to

facilitate the release of towed vehicles. Since Plaintiff’ s only employee in her towing

_ business_is_ her husband,_ she is simply unable to afford the cost of such additional
employees Clearly this requirement relates to “price, route or service.” It is, essentially,

part of “corisumers’ bill of rights” benefitting the owners of towed vehicles. As such,

Plaintiff argues that it is preempted and its enforcement should be enjoined

The State statute also makes it unlawful for a commercial relocator, such as
Plaintiff, “To remove any vehicle . . . more than 15 air miles from its location when
towed from a location in an unincorporated area of a county or more than 10 air miles
from its location when towed from any other location;” (625 ILCS 5/18a-300(14) This
requirement has some connection ito the provision described in the preceding paragraph
In the event that the point of origin for various tows exceed the mileage limit of ten or

fifteen miles stated in the statute, Plaintiff must then permanently staff at least two

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storage lots, in order to avoid a violation of this mileage requirement `Once again, this

specific requirement constitutes another example of a “consumers’ bill of rights,”

- obviously intended to reduce the distance an owner of a towed vehicle_has to travel in

order to reclaim that vehicle It is not, however, related to safety issues.

Plaintiff’ s conclusion that the challenged provisions of the State law cited herein is
essentially designed to operate as a consumer protection measure is supported by the
policy declaration found in the State-statute itself. As noted earlier on_ page two of this
Brief, that purpose of the Statute'is declared to be as follows: “It is hereby declared to be

the policy of this State to supervise and regulate the commercial removal of trespassing

_ vehicles from private property, and the subsequent relocation and storage of such vehicles

_ in such manner as to fairly distribute rights and responsibilities among vehicle owners,

private property owners and commercial vehicle relocators . . . . “ (625 ILCS 5/18a-
lOl). Ernphasis added. Significantly, there is no mention of safety concerns of any type.

Plaintiff also notes that an additional practical effect of these regulations is to

f favor large towing firms that are capable of hiring the additional employees necessary-to l

comply with the statute n Small “mom and'pop” businesses like those of the Plaintiff

herein, are placed at a very serious economic disadvantage and are unable to compete

with those larger towing operations
Finally, for purposes of this Brief`, Plaintiff argues that the commercial relocator
licensing scheme created by the “Illinois Commercial Relocation of Trespassing Vehicles

Law” is itself a regulation of “price, route or service” and its enforcement enjoined The

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j procedure for obtaining such a license has been describe on pages four and five of this

Brief. Of special concern to Plaintiff 1s the language of 625 ILCS 5/18a-400(d) which

allows the Commission to grant such a license“ .to any qualified applicant. .if it is

found that the applicant rs fit, willing and able properly to perform the service proposed

` and to conform to provisions of this Chapter and the requirements rhles and

regulations of the Commission thereunder; otherwise such application shall be denied. ”

(emphasis added).

Therefore the licensing program created by the Illinois statute in question is

directly connected to requirements that are preempted by the Interstate Commerce Act.

Indeed, given the language quoted immediately above, Plaintiff cannot obtain such a

license unless she satisfies the Commission that she is in compliance with all of the

` requirements of the State statute, including those that are preempted by federal law.

' For the reasons stated, Plaintiff asserts that there is, in fact, a reasonable likelihood

that she will prevail on the merits in this matter.

B. IRREPARABLE HARM TO PLAINTIFF

Plaintiff maintains that the denial of her request for a temporary restraining order
and preliminary injunction would cause irreparable harm to her ability to engage in the
towing business Plaintiff believes that it is not an exaggeration to state that, if the
preliminary relief is denied, she may lose that business altogether.

Plaintiff simply cannot obtain a relocator’s license unless she is in compliance

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with all of the statutory regulations contained in the State statute, including those

challenged by Plaintiff in this proceeding And, as pointed out above, since Plaintiff is

financially unable to comply with certain requirements of the statute in question, she is

prevented from obtaining such a license. She will very likely lose business to those larger

n towing businesses that can aHord to hire the employees required by the statute.

Plaintiff also realleges that the very regulations which endanger her business and
threaten irreparable harm are preempted by the Interstate Comrnerce Act,
Defendant’s loss, therefore, is irreparable as a matter of law and would justify the

trial court in granting the preliminary relief she is requesting

C. PLAINTIFF IIAS NO ADEQUATE REMEDY AT LAW
Plaintiff maintains that she has no adequate remedy at law. Given the immediacy
of the danger to Plaintiff" s business, an action for monetary damages would not suffice,

by itself, to sufficiently protect her ability to engage in her lawful occupation The only

method for protecting Plaintiff’ s interests in this proceeding is through the issuance of a

temporary restraining order and preliminary injunction against Defendants.

D. THREATENED I-IARM TO PLAINTIFF OUTWEIGHS I-IARM TO
` DEFENDANTS '

In Curtis v. Thompson, 840 F2d 1291 (7“‘ Cir. 1988), the Seventh Circuit used the

following language to describe its approach to the “balance of harms” issue:

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This circuit applies a sliding scale approach in deciding whether to grant or
deny preliminary relief, so that even if a plaintiff has less than a 50%
1 '-_~chance of prevailing on the merits, he may nonetheless be entitled to the
__; z injunction if he can demonstrate that the balance of harm would weigh
_ heavily against him if the relief were not granted . . . .
- _; 849 de 1291 at 1296.

Plaintiff herein argues that when this “sliding scale approac ” is applied to the
instant case, the balance of harm factor works very substantially in Plaintifl”s favor. The
harm which threatens Plaintiff if the preliminary relief is denied is nothing less than the
potential loss of her business and source of income Whatever interests Defendants have
in the enforcement of the State statute in question cannot outweigh Plaintiff s
fundamental interest in maintaining her livelihood Indeed, Plaintiff asserts that any harm
to Defendants’ interests will be small in comparison to the loss which she will experience

if preliminary injunctive relief is denied.

Therefore, the balance of harms issue tips sharply in favor of Plaintiff

V. CONCLUSION

For the reasons set forth in this Brief, the licensing and other provisions of the

n Illinois Comrnercial Relocation of Vehicles Law described herein areunconstitutional

and are preempted by federal law, namely, 49 U.S.C.' 14501(c).
Because the State statute in question is unconstitutional, and because Plaintiff has
satisfied all of the requirements for issuance of a Temporary Restraining Order pursuant

to Federal Rule of Civil Procedure 65, this Court should grant a Temporaiy Restraining

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' State statute This specifically includes then licensing and related provisions described in

this Brief. Thereafter, Plaintiff requests that a preliminary injunction be granted to

prevent enforcement of the challenged provisions of the Illinois Commercial Relocation

of Vehicles Law.

 

Res ectfully Submi ,
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CERTIFICATE OF SERVICE

The undersigned, being the attorney of record for Plaintiff, Laurie Raymond, dfb/a
A-l Towing, hereby certifies that he caused a copy of the following: Brief In Support Of
Plaintiff s Amended Motion for Temporary Restraining Order and Preliminary
Injunction, to be served upon:

Deborah L. Simpson

David Askew

Assistant Attorneys General

Office of the Attorney General

100 W. Randolph St., 13th Fl.

Chicago, IL. 60601
placing a'tru'e and correct copy of said Brief in an envelope and addressed as shown
above.

That he sealed said envelope(s) and placed sufficient U.S. postage on each; that he

deposited said envelopes so sealed and stamped in the United States Mail nat Ro'ckford,

` Illinois, at or about the hour of 1100 P.M. on the 23rd day of %32003.

: /our,i z /M

'N

J__ TERRY L. DE_CK

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NoRTHERN Disrnic'r or iLi.iNois
WESrERN DivisioN
LAURIE RAYMoNr), d/b/o A-i TowiNo,
Pioioaff,

VS.

non R'. BLAGoJEvici-i_, as Govomor or the

` State of Illinois,

and

EDWARD C. HURLEY, as Chairman of
the Illinois Commerce Commission, LULA

- . M. FoRi), MARY 'FRANCES' sQUiREs, § "`"
_` KEVIN K. WR,IGHT and ERIN ;: §§ 1"§
O’CONNELL-DIAZ_, all in their capacity z :: ~"~'
as Commissioners of the Illinois Commerce f "~1 :i
" Commission; and SCOTT WISEMAN, as 551 -":
Executive Director of the Illinois Commerce {:_ ;: j
Commission,l § r;`")

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ILLINOIS COMMERCE COMMISSION, ) NO. 03 C 50195
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.To: Deborah L. Simpson

_ David Askew
Assis_tant Attorneys General
Office of the Attorney General
100 W. Randolph St., 13th Fl.
Chicago, IL. 60601

PLEASE TAKE NOTICE that, on the 23'cl day of May, 2003, I have filed with
the Clerk of the Court for the Northern District of Illinois, Western Division, the original

and one copy of the following: Brief In Support Of Plaintiff’ s Amended Motion for

. Temporary Restraining Order and Preliminary Injunction, copies of which are hereby

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f served upon you. ` ' ` ' \ -- - _

'Fe’rry L. Deck

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